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                Exhibit A
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                                                                                             January 8, 2021

                          Federal Bureau of Investigation
                          David M. Hardy, Chief Record/Information Dissemination Section
                          Records Management Division
                          Department of Justice
                          170 Marcel Drive
                          Winchester, VA 22602-4843

                          Via eFOIPA Portal

National Office           Re:       FOIA Request Concerning Conditions for State and Local Law
125 Broad Street,
                                    Enforcement Purchase and Use of Cell Site Simulators
18th Floor
New York, NY 10004                  (Fee Waiver Requested)
Tel: (212) 549-2500
Fax: (212) 549-2564       To Whom It May Concern:
aclu.org

Susan N. Herman                   The American Civil Liberties Union and the American Civil Liberties
President                 Union Foundation (together, the “ACLU”) 1 submit this Freedom of Information
                          Act (“FOIA”) request (the “Request”) for records pertaining to federal conditions
Anthony D. Romero
Executive Director        on state and local law enforcement agencies’ purchase and use of cell site
                          simulator technology.
Richard Zacks
Treasurer
                                                                      I. Background

                                  Cell site simulators, also known as IMSI catchers or Stingrays, are
                          devices that impersonate wireless service providers’ cell towers, prompting cell
                          phones and other wireless devices in the area to communicate with them. 2 Cell
                          site simulators can be used to locate, track, and identify people’s phones, and can
                          ensnare bystanders’ phones even when being used to locate a particular suspect.
                          Despite the invasiveness of this technology, for years law enforcement agencies
                          withheld information about cell site simulators from judges, defendants,
                          lawmakers, and the public. Much of this secrecy was attributable to a
                          nondisclosure agreement that the FBI required state and local law enforcement
                          agencies to sign before they could be cleared to purchase cell site simulators


                                The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                                1

                          that provides legal representation free of charge to individuals and organizations in civil rights
                          and civil liberties cases, and educates the public about civil rights and civil liberties issues across
                          the country. The American Civil Liberties Union is a separate non-profit, 26 U.S.C. § 501(c)(4)
                          membership organization that educates the public about the civil liberties implications of pending
                          and proposed state and federal legislation, provides analysis of pending and proposed legislation,
                          directly lobbies legislators, and mobilizes its members to lobby their legislators.
                               See generally Department of Justice Policy Guidance: Use of Cell-Site Simulator
                                2

                          Technologsy, Dep’t of Justice, https://www.justice.gov/opa/file/767321/download.
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                              from L3Harris Technologies (formerly known as the Harris Corporation), which
                              was long the primary provider of cell site simulators to state and local law
                              enforcement agencies. 3

                                       Recently, L3Harris Technologies announced it would no longer provide
                              cell site simulators (or hardware and software upgrades) to state and local law
                              enforcement agencies. 4 State and local law enforcement agencies that wish to
                              continue using cell site simulators have consequently had to find a new source
                              for the equipment. A number of these agencies have turned to North Carolina-
                              based Tactical Support Equipment, Inc. (“TSE”), which is the U.S. distributor of
                              cell site simulators manufactured by the Canadian firm Octasic, Inc. 5

                                      Despite the widespread purchase of Octasic cell site simulators by state
                              and local law enforcement agencies, the public lacks information about whether
                              the FBI imposes conditions on such sales, including whether the FBI requires
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                              state and local law enforcement agencies to sign nondisclosure agreements
                              before purchasing the equipment from TSE.

                                                                 II. Requested Records

                                    The ACLU seeks the release of the following records created since
                              January 1, 2018:

                                      (1)      Any nondisclosure agreement provided to or entered into with any
                                               state or local law enforcement agency pertaining to that agency’s
                                               purchase, use, or possession of cell site simulator technology. 6


                                  3
                                     See, e.g., Non-Disclosure Agreements Between FBI and Local Law Enforcement for
                              StingRay, Ctr. For Human Rights & Privacy, https://www.cehrp.org/non-disclosure-agreements-
                              between-fbi-and-local-law-enforcement/; Nathan Freed Wessler, Documents in ACLU Case
                              Reveal More Detail on FBI Attempt to Cover Up Stingray Technology (Sep. 24, 2014),
                              https://www.aclu.org/blog/documents-aclu-case-reveal-more-detail-fbi-attempt-cover-stingray-
                              technology/; Shawn Musgrave, Before They Could Track Cell Phone Data, Police Had to Sign a
                              NDA with the FBI (Sep. 22, 2014), https://www.muckrock.com/news/archives/2014/sep/22/they-
                              could-track-cell-phone-data-police-had-sign-n/;
                                   4
                                     See Dell Cameron & Dhruv Mehrotra, Cops Turn to Canadian Phone-Tracking Firm After
                              Infamous ‘Stingrays’ Become ‘Obsolete,’ Gizmodo (Oct. 23, 2020),
                              https://gizmodo.com/american-cops-turns-to-canadian-phone-tracking-firm-aft-1845442778.
                                  5
                                     Cameron & Mehrotra, supra note 4; see also, e.g., Chairwoman’s Policy Council Meeting:
                              Research Notes 69, Miami-Dade Bd. Of Cty. Comm’rs,
                              https://www.miamidade.gov/auditor/library/2020-04-20-cpc-meeting.pdf.
                                  6
                                    For purposes of this request, “cell site simulator technology” refers to the type of
                              technology at issue in the 2015 Department of Justice Policy Guidance: Use of Cell-Site
                              Simulator Technology, supra note 2. “Cell site simulator technology” includes hardware and
                              software secondary to or made to work in conjunction with a cell site simulator.


                                                                               2
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                                                  This includes (but is not limited to) nondisclosure agreements
                                                  pertaining to cell site simulator technology that:
                                                      (a) state or local law enforcement agencies seek to purchase
                                                          from Tactical Support Equipment, Inc.;
                                                      (b) was produced by Octasic, Inc.; or
                                                      (c) is part of the “Nyxcell” line of products.

                                          (2)     All records and communications regarding conditions that state
                                                  and local law enforcement agencies must meet before those
                                                  agencies purchase, use, or possess cell site simulator technology,
                                                  including any requirement to advance coordinate with or obtain
                                                  approval from the FBI.

                                                    III. Application for Waiver or Limitation of Fees
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                                      The ACLU requests a waiver of document search, review, and
                              duplication fees on the grounds that disclosure of the requested records is in the
                              public interest and because disclosure is “likely to contribute significantly to
                              public understanding of the operations or activities of the government and is not
                              primarily in the commercial interest of the requester.” 5 U.S.C.
                              § 552(a)(4)(A)(iii). 7 The ACLU also requests a waiver of search fees on the
                              grounds that the ACLU qualifies as a “representative of the news media” and the
                              records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                              A.          The Request is likely to contribute significantly to public understanding
                                          of the operations or activities of the government and is not primarily in
                                          the commercial interest of the ACLU.

                                      As discussed above, media accounts underscore the substantial public
                              interest in the records sought through this Request. See supra Part I. The records
                              sought will significantly contribute to public understanding of whether the FBI
                              continues to impose conditions on state and local law enforcement agencies’
                              purchase and use of cell site simulator technology. Because there is no publicly
                              available information about the FBI’s current practices and polices in this regard,
                              the requested records will “contribute significantly to public understanding of the
                              operations or activities of the government.” 5 U.S.C. § 552(a)(4)(A)(iii). .

                                      The ACLU is not filing this Request to further its commercial interest.
                              The ACLU is a not-for-profit organization that regularly makes information
                              obtained under FOIA available to the public free-of-charge. Any information
                              disclosed by the ACLU as a result of this FOIA Request will be available to the
                              public at no cost. Thus, a fee waiver would fulfill Congress’s legislative intent in

                                   7
                                       See also 28 C.F.R. § 16.10(k)(2).




                                                                             3
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                              amending FOIA. See Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C.
                              Cir. 2003) (“Congress amended FOIA to ensure that it be liberally construed in
                              favor of waivers for noncommercial requesters.” (quotation marks omitted)).

                              B.          The ACLU is a representative of the news media and the records are not
                                          sought for commercial use.

                                      The ACLU also requests a waiver of search fees on the grounds that the
                              ACLU qualifies as a “representative of the news media” and the records are not
                              sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). 8 The ACLU meets
                              the statutory and regulatory definitions of a “representative of the news media”
                              because it is an “entity that gathers information of potential interest to a segment
                              of the public, uses its editorial skills to turn the raw materials into a distinct
                              work, and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III) 9;
                              see also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir.
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                              1989) (finding that an organization that gathers information, exercises editorial
                              discretion in selecting and organizing documents, “devises indices and finding
                              aids,” and “distributes the resulting work to the public” is a “representative of the
                              news media” for purposes of the FOIA); Serv. Women’s Action Network v. Dep’t
                              of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including ACLU,
                              were representatives of the news media and thus qualified for fee waivers for
                              FOIA requests to the Department of Defense and Department of Veterans
                              Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011 WL
                              887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                              Washington is an entity that “gathers information of potential interest to a
                              segment of the public, uses its editorial skills to turn the raw materials into a
                              distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp. 2d
                              at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                              disseminating information”).

                                      The ACLU regularly publishes STAND, a print magazine that reports on
                              and analyzes civil liberties-related current events. The magazine is disseminated
                              to over 900,000 people. The ACLU also publishes regular updates and alerts via
                              email to over 4.3 million subscribers (both ACLU members and non-members).
                              These updates are additionally broadcast to over 5.5 million social media
                              followers. The magazine as well as the email and social-media alerts often
                              include descriptions and analysis of information obtained through FOIA
                              requests.

                                          The ACLU also regularly issues press releases to call attention to



                                   8
                                       See also 28 C.F.R. § 16.10(k)(2).
                                   9
                                       See also 28 C.F.R. § 16.10(b)(6).



                                                                            4
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                              documents obtained through FOIA requests, as well as other breaking news, 10
                              and ACLU attorneys are interviewed frequently for news stories about
                              documents released through ACLU FOIA requests. 11

                                  10
                                      See, e.g., Press Release, ACLU, Federal Court Permanently Blocks Billions of Dollars in
                              Border Wall Construction (June 28, 2019), https://www.aclu.org/press-releases/federal-court-
                              permanently-blocks-billions-dollars-border-wall-construction; Press Release, ACLU, New
                              Documents Reveal NSA Improperly Collected Americans’ Call Records Yet Again (June 26,
                              2019), https://www.aclu.org/press-releases/new-documents-reveal-nsa-improperly-collected-
                              americans-call-records-yet-again; Press Release, ACLU, ACLU and Center for Media Justice
                              Sue FBI for Records on Surveillance of Black Activists (Mar. 21, 2019),
                              https://www.aclu.org/press-releases/aclu-and-center-media-justice-sue-fbi-records-surveillance-
                              black-activists; Press Release, ACLU, ACLU, Privacy International Demand Government
                              Disclose Nature and Extent of Hacking Activities (Dec. 21, 2018), https://www.aclu.org/press-
                              releases/aclu-privacy-international-demand-government-disclose-nature-and-extent-hacking;
                              Press Release, ACLU, New Documents Reveal Government Plans to Spy on Keystone XL
AMERICAN CIVIL LIBERTIES      Protesters (Sept. 4, 2018), https://www.aclu.org/news/new-documents-reveal-government-plans-
UNION FOUNDATION              spy-keystone-xl-protesters; Press Release, ACLU, ACLU Obtains Documents Showing
                              Widespread Abuse of Child Immigrants in U.S. Custody (May 22, 2018),
                              https://www.aclu.org/news/aclu-obtains-documents-showing-widespread-abuse-child-
                              immigrants-us-custody; Press Release, ACLU, ACLU Demands CIA Records on Campaign
                              Supporting Haspel Nomination (May 4, 2018), https://www.aclu.org/news/aclu-demands-cia-
                              records-campaign-supporting-haspel-nomination; Press Release, ACLU, Advocates File FOIA
                              Request For ICE Documents on Detention of Pregnant Women (May 3, 2018), https://
                              www.aclu.org/news/advocates-file-foia-request-ice-documents-detention-pregnant-women; Press
                              Release, ACLU, Civil Rights Organizations Demand Police Reform Documents from Justice
                              Department (Jan. 4, 2018), https://www.aclu.org/news/civil-rights-organizations-demand-police-
                              reform-documents-justice-department; Press Release, ACLU, ACLU Files Lawsuits Demanding
                              Local Documents on Implementation of Muslim Ban (Apr. 12, 2017),
                              https://www.aclu.org/news/aclu-files-lawsuits-demanding-local-documents-implementation-
                              trump-muslim-ban; Press Release, ACLU, U.S. Releases Drone Strike ‘Playbook’ in Response to
                              ACLU Lawsuit (Aug. 6, 2016), https://www.aclu.org/news/us-releases-drone-strike-playbook-
                              response-aclu-lawsuit; Press Release, ACLU, Secret Documents Describe Graphic Abuse and
                              Admit Mistakes (June 14, 2016), https://www.aclu.org/news/cia-releases-dozens-torture-
                              documents-response-aclu-lawsuit; Press Release, ACLU, ACLU Sues for Bureau of Prisons
                              Documents on Approval of CIA Torture Site (Apr. 14 2016), https://www.aclu.org/news/aclu-
                              sues-bureau-prisons-documents-approval-cia-torture-site.
                                   11
                                      See, e.g., Charlie Savage, N.S.A. Gathered Domestic Calling Records It Had No Authority
                              to Collect, N.Y. Times, June 26, 2019, https://www.nytimes.com/2019/06/26/us/telecom-nsa-
                              domestic-calling-records.html (quoting ACLU attorney Patrick Toomey); Rachel Frazin, ACLU
                              Sues FBI Over Black Activist Surveillance Records, Hill, Mar. 21, 2019,
                              https://thehill.com/policy/national-security/fbi/435143-fbi-sued-over-black-activist-surveillance-
                              records (quoting ACLU attorney Nusrat Choudhury); Cora Currier, TSA’s Own Files Show
                              Doubtful Science Behind Its Behavioral Screen Program, Intercept, Feb. 8, 2017,
                              https://theintercept.com/2017/02/08/tsas-own-files-show-doubtful-science-behind-its-behavior-
                              screening-program (quoting ACLU attorney Hugh Handeyside); Larry Neumeister, Judge Scolds
                              Government over Iraq Detainee Abuse Pictures, The Associated Press, Jan. 18, 2017,
                              https://www.apnews.com/865c32eebf4d457499c017eb837b34dc (quoting ACLU project director
                              Hina Shamsi); Karen DeYoung, Newly Declassified Document Sheds Light on How President
                              Approves Drone Strikes, Wash. Post, Aug. 6, 2016, http://wapo.st/2jy62cW (quoting former
                              ACLU deputy legal director Jameel Jaffer); Catherine Thorbecke, What Newly Released CIA
                              Documents Reveal About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
                              http://abcn.ws/2jy40d3 (quoting ACLU attorney Dror Ladin); Nicky Woolf, US Marshals Spent



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                                       Similarly, the ACLU publishes reports about government conduct and
                              civil liberties issues based on its analysis of information derived from various
                              sources, including information obtained from the government through FOIA
                              requests. This material is broadly circulated to the public and widely available to
                              everyone for no cost or, sometimes, for a small fee. ACLU national projects
                              regularly publish and disseminate reports that include a description and analysis
                              of government documents obtained through FOIA requests. 12 The ACLU also
                              regularly publishes books, “know your rights” materials, fact sheets, and
                              educational brochures and pamphlets designed to educate the public about civil
                              liberties issues and government policies that implicate civil rights and liberties.

                                       The ACLU publishes a widely read blog where original editorial content
                              reporting on and analyzing civil rights and civil liberties news is posted daily. 13
                              The ACLU creates and disseminates original editorial and educational content on
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                              civil rights and civil liberties news through multimedia projects, including
                              videos, podcasts, and interactive features. 14 The ACLU also publishes, analyzes,
                              and disseminates information through its heavily visited website, www.aclu.org.
                              The website addresses civil rights and civil liberties issues in depth, provides
                              features on civil rights and civil liberties issues in the news, and contains many
                              thousands of documents relating to the issues on which the ACLU is focused.
                              The ACLU’s website also serves as a clearinghouse for news about ACLU cases,


                              $10M on Equipment for Warrantless Stingray Device, Guardian, Mar. 17, 2016,
                              https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-airborne
                              (quoting ACLU attorney Nathan Freed Wessler); David Welna, Government Suspected of
                              Wanting CIA Torture Report to Remain Secret, NPR, Dec. 9, 2015, http://n.pr/2jy2p71 (quoting
                              ACLU project director Hina Shamsi).
                                   12
                                      See, e.g., ACLU, Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program (2017),
                              https://www.aclu.org/sites/default/files/field_document/dem17-tsa_detection_report-v02.pdf;
                              Carl Takei, ACLU-Obtained Emails Prove that the Federal Bureau of Prisons Covered Up Its
                              Visit to the CIA’s Torture Site (Nov. 22, 2016), https://www.aclu.org/blog/speak-freely/aclu-
                              obtained-emails-prove-federal-bureau-prisons-covered-its-visit-cias-torture; Brett Max Kaufman,
                              Details Abound in Drone ‘Playbook’ – Except for the Ones That Really Matter Most (Aug. 8,
                              2016), https://www.aclu.org/ blog/speak-freely/details-abound-drone-playbook-except-ones-
                              really-matter-most; ACLU, Leaving Girls Behind: An Analysis of Washington D.C.’s
                              “Empowering Males of Color” Initiative (2016), https://www.aclu.org/ report/leaving-girls-
                              behind; Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive Stingray
                              Use in Florida (Feb. 22, 2015), https://www.aclu.org/blog/free-future/aclu-obtained-documents-
                              reveal-breadth-secretive-stingray-use-florida; Nathan Freed Wessler, FBI Documents Reveal New
                              Information on Baltimore Surveillance Flights (Oct. 30, 2015), https://www.aclu.org/blog/free-
                              future/fbi-documents-reveal-new-information-baltimore-surveillance-flights; Ashley Gorski, New
                              NSA Documents Shine More Light into Black Box of Executive Order 12333 (Oct. 30, 2014),
                              https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-executive-order-
                              12333.
                                  13
                                       See News & Commentary, https://www.aclu.org/blog.
                                  14
                                       See Multimedia, https://www.aclu.org/multimedia.



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                              including analysis about case developments and an archive of case-related
                              documents. Through these pages, and with respect to each specific civil liberties
                              issue, the ACLU provides the public with educational material, recent news,
                              analyses of relevant congressional or executive branch action, government
                              documents obtained through FOIA requests, and further in-depth analytic and
                              educational multimedia features. 15

                                      The ACLU website includes many features on information obtained
                              through the FOIA. For example, the ACLU maintains an online “Torture
                              Database,” a compilation of over 100,000 pages of FOIA documents that allows
                              researchers and the public to conduct sophisticated searches of its contents
                              relating to government policies on rendition, detention, and interrogation. 16 The
                              ACLU has also published a number of charts and explanatory materials that
                              collect, summarize, and analyze information it has obtained through the FOIA. 17
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                                  15
                                      See, e.g., ACLU v. ODNI—FOIA Lawsuit Seeking Records About Government
                              Surveillance Under the USA Freedom Act, ACLU Case Page, https://www.aclu.org/cases/aclu-v-
                              odni-foia-lawsuit-seeking-records-about-government-surveillance-under-usa-freedom-act; ACLU
                              v. DOJ—FOIA Lawsuit Seeking Information on Federal Agencies’ Surveillance of Social Media,
                              ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-seeking-information-
                              federal-agencies-surveillance-social-media; ACLU v. DOJ—FOIA Case for Records Relating to
                              Targeted Killing Law, Policy, and Casualties, ACLU Case Page,
                              https://www.aclu.org/cases/aclu-v-doj-foia-case-records-relating-targeted-killing-law-policy-and-
                              casualties; Executive Order 12,333—FOIA Lawsuit, ACLU Case Page,
                              https://www.aclu.org/cases/executive-order-12333-foia-lawsuit; ACLU Motions Requesting
                              Public Access to FISA Court Rulings on Government Surveillance, ACLU Case Page,
                              https://www.aclu.org/cases/aclu-motions-requesting-public-access-fisa-court-rulings-
                              government-surveillance; ACLU v. DOJ—FOIA Lawsuit Demanding OLC Opinion “Common
                              Commercial Service Agreements, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-
                              lawsuit-demanding-olc-opinion-common-commercial-service-agreements; FOIA Request for
                              Justice Department Policy Memos on GPS Location Tracking, ACLU Case Page,
                              https://www.aclu.org/cases/foia-request-justice-department-policy-memos-gps-location-tracking;
                              Florida Stingray FOIA, ACLU Case Page, https://www.aclu.org/cases/florida-stingray foia;
                              Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive Stingray Use in
                              Florida, (Feb. 22, 2015) https://www.aclu.org/blog/free-future/aclu-obtained-documents-reveal-
                              breadth-secretive-stingray-use-florida?redirect=blog/national-security-technology-and-
                              liberty/aclu-obtained-documents-reveal-breadth-secretive-sting.
                                  16
                                      The Torture Database, ACLU Database, https://www.thetorturedatabase.org; see also
                              Countering Violent Extremism FOIA Database, ACLU Database, https://www.aclu.org/foia-
                              collection/cve-foia-documents; TSA Behavior Detection FOIA Database, ACLU Database,
                              https://www.aclu.org/foia-collection/tsa-behavior-detection-foia-database; Targeted Killing FOIA
                              Database, ACLU Database, https://www.aclu.org/foia-collection/targeted-killing-foia-database.
                                  17
                                    Index of Bush-Era OLC Memoranda Relating to Interrogation, Detention, Rendition
                              and/or Surveillance, ACLU (Mar. 5, 2009), https://www.aclu.org/sites/default/files/pdfs/safefree/
                              olcmemos_2009_0305.pdf; Summary of FISA Amendments Act FOIA Documents Released on
                              November 29, 2010, ACLU (Nov. 29, 2010), https://www.aclu.org/files/pdfs/natsec/faafoia
                              20101129/20101129Summary.pdf; Statistics on NSL’s Produced by Department of Defense,
                              ACLU, https://www.aclu.org/sites/default/files/field_document/nsl_stats.pdf.



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                                     Further, as explained above, supra Part III.A, the records are not sought
                              for commercial use.

                                      Courts have found other organizations whose mission, function,
                              publishing, and public education activities are similar in kind to the ACLU’s to
                              be “representatives of the news media.” See, e.g., Cause of Action v. IRS, 125 F.
                              Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr., 241 F. Supp. 2d at 10–15
                              (finding non-profit public interest group that disseminated an electronic
                              newsletter and published books was a “representative of the news media” for
                              purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at 1387; Judicial Watch,
                              Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54 (D.D.C. 2000) (finding
                              Judicial Watch, self-described as a “public interest law firm,” a news media
                              requester). 18 On account of these factors, fees associated with responding to
                              FOIA requests are regularly waived for the ACLU as a “representative of the
                              news media.” 19 As was true in those instances, the ACLU meets the
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                              requirements for a fee waiver here.

                                                                      *         *        *

                                      If the Request is denied in whole or in part, the ACLU asks that you
                              justify all deletions by reference to specific exemptions to FOIA. The ACLU
                              expects the release of all segregable portions of otherwise exempt material. The



                                  18
                                     Courts have found these organizations to be “representatives of the news media” even
                              though they engage in litigation and lobbying activities beyond their dissemination of
                              information and public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                              Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                              Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                                  19
                                      The ACLU regularly receives FOIA fee waivers from federal agencies. For example, in
                              June 2018, the U.S. Citizenship and Immigration Services granted a fee-waiver request regarding
                              a FOIA request for documents relating to the use of social media surveillance. In August 2017,
                              CBP granted a fee-waiver request regarding a FOIA request for records relating to a muster sent
                              by CBP in April 2017. In June 2017, the Department of Defense granted a fee-waiver request
                              regarding a FOIA request for records pertaining to the authorities approved by President Trump
                              in March 2017 which allowed U.S. involvement in Somalia. In June 2017, the Department of
                              Defense, the CIA, and the Office of Inspector General granted fee-wavier requests regarding a
                              FOIA request for records pertaining to U.S. involvement in the torture of detainees in prisons in
                              Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May 2017, CBP granted a fee-
                              waiver request regarding a FOIA request for documents related to electronic device searches at
                              the border. In April 2017, the CIA and the Department of State granted fee-waiver requests in
                              relation to a FOIA request for records related to the legal authority for the use of military force in
                              Syria. In March 2017, the Department of Defense Office of Inspector General, the CIA, and the
                              Department of State granted fee-waiver requests regarding a FOIA request for documents related
                              to the January 29, 2017 raid in al Ghayil, Yemen. In June 2016, the Office of the Director of
                              National Intelligence granted a fee-waiver request regarding a FOIA request related to policies
                              and communications with social media companies’ removal of “extremist” content. In May 2016,
                              the FBI granted a fee-waiver request regarding a FOIA request issued to the Department of
                              Justice for documents related to Countering Violent Extremism Programs.


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                             ACLU reserves the right to appeal a decision to withhold any information or
                             deny a waiver of fees.

                                    Thank you for your prompt attention to this matter. Please furnish the
                             applicable records to:

                                    Nathan Freed Wessler
                                    American Civil Liberties Union
                                    125 Broad Street, 18th Floor
                                    New York, New York 10004
                                    T: 212.549.2500
                                    F: 212.549.2654
                                    nwessler@aclu.org

                                     Please note that the ACLU’s offices are currently closed due to the
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                             COVID-19 crisis, are not accepting deliveries sent via UPS, FedEx, or other
                             parcel services, and are not forwarding parcels sent via USPS. Please transmit
                             any response letters and responsive records via email. If records must be
                             mailed on a CD/DVD, please contact Nathan Wessler at nwessler@aclu.org
                             for his home mailing address.


                                                                  Sincerely,



                                                                  __________________________
                                                                  Nathan Freed Wessler
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                                                                  Speech, Privacy, and Technology Project
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